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                                                Exhibit “A”
7/21/2018Case             2:18-cv-02503-FMO-JC Document 36RUNWAY
                                                             FiledMAGAZINE
                                                                   07/30/18® Page 2 of 90 Page ID #:725


  RUNWAY MAGAZINE ®
   Official RUNWAY MAGAZINE ® website - International High fashion magazine known Worldwide. Trademarks registered: 4238028 ® RUNWAY , 4240206 ® Runway Magazine , 4044982 ® Runway Magazine , 4044985 ® Runway France .




          News             About              SERVICES                Branding               Press Kits              Contact RUNWAY MAGAZINE                             Terms



      About                                                                                                                                                                        Search This Site


                                                         RUNWAY MAGAZINE ®                                                                                                                                                 Search



                                                      www.RUNWAYMAGAZINES.COM                                                                                                      Translate
                                                                  1 000 000 readers a month
                                                                                                                                                                                         Select Language ▼


      RUNWAY MAGAZINE ® produced by Media Group ELEONORA DE GRAY. MEDIA
      GROUP ELEONORA DE GRAY specializes on branding, marketing, strategy, image                                                                                                   News Archive

      consulting, and media production. One of worldwide known commercial products is                                                                                              ▼ 2018 (5)
      Runway Magazine designed to show and distribute most unique pieces, savoir-fair and                                                                                              ▼ April (3)
                                                                                                                                                                                           Mon RUNWAY SAC –
      expertise.                                                                                                                                                                            Histoire d’une
      RUNWAY MAGAZINE ® is an American-French magazine, produced by Media Group                                                                                                             Photographe de
                                                                                                                                                                                            Mod...
      ELEONORA DE GRAY, with the offices based in Paris (France), New York and Los
                                                                                                                                                                                           The Urban Legend of St
      Angeles. Runway Magazine started in 1995, in 2010 became ultimate luxury printed                                                                                                       Louis
      edition about trends, expertise, the most talented designers, photographers, artists,                                                                                                Best of Fall Winter 2018
      architects, showing the most amazing embroideries, exquisite cuisine, luxurious spa and                                                                                                Paris – New York –
                                                                                                                                                                                             Milan
      much much more. It is a luxury printed book. Runway Magazine, printed luxury book and
                                                                                                                                                                                       ► February (2)
      digital online platform hosted on www.RUNWAYMAGAZINES.com, exists on two
      languages : English and French.                                                                                                                                              ► 2017 (18)
      1 000 000 readers a month!                                                                                                                                                   ► 2016 (23)
      RUNWAY MAGAZINE ® ultimate luxury magazine, 300 pages luxury editions produced                                                                                               ► 2015 (32)
      and published in USA and France. Offices in USA located in New York and Hollywood,                                                                                           ► 2014 (19)
      Los Angeles. Office (Headquarters) located in Paris, France. Managing partners:                                                                                              ► 2013 (24)
      Eleonora de Gray – CEO and Editor-in-Chief, Guillaumette Duplaix – Executive Director.                                                                                       ► 2012 (6)
      Trademarks registered in Europe.                                                                                                                                             ► 2011 (9)
      Magazine presented and supported by Karl Lagerfeld, Jean-Paul Gaultier, Kenzo, Mila                                                                                          ► 2010 (21)
      Jovovich, Claudia Cardinale and many other fashion designers and actors at different
      fashion and cinema events.
      RUNWAY MAGAZINE ® featured in several movies and TV series.                                                                                                                  RUNWAY APP

      Digitally RUNWAY MAGAZINE ® distributed as Fashion News web-site
      www.RUNWAYMAGAZINES.com, RUNWAY News-Paper distributed in format of Nook
      by Barnes & Noble, Kobo by Fnac and other online platforms, and as an Application
      available on Google Play and Itunes.
      Eleonora de Gray is French-American Founder of Media Group ELEONORA DE GRAY
      and RUNWAY MAGAZINE ®, Producer and Director of RUNWAY MAGAZINE ® talk
      show – video episodes about fashion weeks in Paris, New York and Milan with exclusive
      interviews, broadcast on 40 TV channels in USA with Dish Network.She started her
      career in fashion more than 20 years ago as model, became known by Nivea and many
      other commercials.Today in partnership with one of the top color specialist in France
      Guillaumette Duplaix, who’s known by her expertise and work with Chanel, Hermes and
      many other fashion houses, Eleonora de Gray created a company, media group with
                                                                                                                                                                                   RUNWAY Partners
      creative solutions in media, outstanding solutions “out of the box” for branding,
      marketing strategy, fashion expertise, promotion, online media solutions and consulting.
      Company launched new line of fashion accessories.

      RUNWAY MAGAZINE ® web-sites:
      RUNWAY MAGAZINE Official Web-site: www.RUNWAYMAGAZINES.com
      RUNWAY MAGAZINE Info: www.RUNWAYMAGAZINES.net


https://www.runwaymagazines.net/p/about-me.html                                                                                                                                                                                     1/8
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                                                 Exhibit “B”
 Case 2:18-cv-02503-FMO-JC Document 36 Filed 07/30/18 Page 4 of 90 Page ID #:727




                           RWWAY
Reg. No.4,449,667                         RtrNwAy BEAUTY, INC. (ANZONA CORPORATION), DBA RITNWAY
                                          8637 E, BERRIDGE LN,
Registered Dec. 17, 2013 scorrsDAlq. Az 8s2so
Int. Cl.:     16                          FOR: GENERAL FEATURE MAGAZINES, IN CLASS 16 (U.S. CLS.2, 5,22,23,29,37,38
                                          AND 50).

TRADEMARI(                                FIRST USE 7-15-1989: IN COMMERCE 1-7-2002.

PRINCIPAL REGISTER                        THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                          TICULAR FONT, STYLE, SIZE, OR COLOR.

                                          owNER OF U.S. REG. NOS. 3,872,255,3,964,775, AND 4,268,101.

                                          sER. NO. 85-317 ,615, FILED 5- I 1-201   l.

                                          TRACY WHITTAKER-BROWN, EXAMINING ATTORNEY




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   Ar

  Cmissionq for Trade,mrokr of the
United States Patent andTrademark Offiw
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                                                 Exhibit “C”
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                                                Exhibit “D”
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                   CONFIDENTIAL SETTLEMENT AGREEMENT
                                   AND
                        MUTUAL RELEASE OF CLAIMS

                                    TRADEMARK LITIGATION
                      Runway Beauty, Inc. v. Runway Magazine, Inc. et al
                                2:09-cv-08333-JAK - JEM


       This Confidential Settlement Agreement and Mutual Release of Claims (the "Agreement")
 is made effective the 28th day of October, 2011 (the "Effective Date"), by and between
 RUNWAY BEAUTY, INC., an Arizona corporation and Vincent Mazzotta and their entities and
 assigns (hereinafter "RBI") including any subsequent corporate name adopted by RBI, and
 RUNWAY MAGAZINE, INC., a California corporation and James Buccelli and their entities
 and assigns (hereinafter "RMI") including any subsequent corporate name adopted by RMI. RBI
 and RMI each are referred to herein separately and/or collectively as "Party" and/or as the
 "Parties."

        There are no other parties to this Agreement effective as of the AEffective Date@ above.

      WHEREAS, a dispute has arisen between the Parties relating to the use of the trade-name
 ARunway Magazine@ and related terms and related names used in trade in connection with
 products and services offered by RBI and RMI; and, including website addresses, domain names,
 media files, names used in interviews and names used at events use these Parties.

       WHEREAS, RBI filed suit against RMI in United States District Court for the Central
 District of California, Case No.2:09-cv-08333-JAK -JEM, and RMI has brought counterclaims
 and other affirmative claims against RBI in that case (hereinafter "California Action"); and,

       WHEREAS, RBI and RMI believe that each has claims against each other in the United
 States (see California Action) and/or in foreign jurisdictions alleging trademark infringement and
 other claims, but to which neither Party has yet filed suit in these foreign jurisdictions
 (hereinafter "Foreign Rights"); and,

      WHEREAS, both RBI and RMI applied to the U.S. Patent and Trademark Office to register
 trademarks containing "Runway Magazine"1, and RBI has obtained registration of certain
 trademarks and specifically the trademark of ARunway Magazine.@2

        1
               RBI=s application filed on July 31, 2008 (Application No. 77536081) alleges 1st
 use 01/01/07 and 1st use in commerce 05/01/07; and, RMI=s application filed on November 11,
 2008 (Application No. 77/612008) alleges 1st use 01/01/95 and 1st use in commerce as 01/01/00
        2
                RBI obtained Registration No. 3586631 for "Runway Magazine" granted March
 10, 2009.
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 TRADEMARK LITIGATION
 Runway Beauty, Inc. v. Runway Magazine, Inc. et al
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 August 17, 2011
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         WHEREAS, both RBI and RMI each oppose the other=s applications, but neither has
 asserted any counterclaims with the Trademark Trial and Appeal Board ("TTAB") rather
 choosing to adjudicate their disputes in the California Action.

       WHEREAS, the Parties wish to resolve their disputes, including all claims brought by the
 Parties in the California Action, the Foreign Rights, and any and all claims the Parties have
 before the TTAB;

       NOW, THEREFORE, with sufficient consideration in exchange for the mutual covenants
 contained herein and other good and valuable consideration, the receipt and sufficiency of which
 is hereby acknowledged, the Parties agree as follows:

         1.     Use of the ARunway Magazine@ Mark:@ The Parties have agreed to enter into this
 Agreement and the use of their respective Marks in the manner set forth herein. Except as
 provided herein RBI will as set forth herein ultimately permanently cease the use of the marks
 "Runway Magazine" and/or "Runway Magazine, Inc." (“RMI Marks”) and RBI will use of the
 Mark “Runway” and “Runway TV” (“RBI Marks) RBI will use the RBI Marks as much as
 possible and as quickly as possible, especially, after RBI obtains the trademark registration for
 “Runway.” The design, fonts and sizing of the Marks exampled by the samples submitted by the
 Parties in AAddendum A.@

                  a.      It is the intention of the Parties that the ownership of the name ARunway
 Magazine@ will reside with RMI and James Buccelli and their entities and assigns; and, that
 ownership of the name ARunway@ will reside with RBI and Vincent Mazzotta and their entities
 and assigns. The immediate use of ARunway Magazine@ will reside with RMI and James
 Buccelli and their entities and assigns but it is understood by the Parties that it may take time for
 RBI to transition its use from “Runway Magazine” to “Runway” and when possible to effectuate
 the transfer of legal right and interest to RMI and James Buccelli and their entities and assigns.
 Therefore, the Parties understand that the trade-name "Runway Magazine" may take a period of
 years to effectively transfer it to with RMI and James Buccelli and their entities and assigns, but,
 it is the intention of the Parties by this Agreement to do so.

                 b.      It is the intention of the Parties at the present time to co-existing trademark
 registrations for use of the Mark ARunway Magazine.@ (An example of which is attached as part
 of AAddendum A.@) The Parties agree to share the Mark within the boundaries of the United
 States for the next 18-months (the "Period") (starting on the Effective Date) as stated herein.
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  (See below for use of Mark outside of the United States.) Following the Period and except as
  stated herein, RBI will cease all use of “Runway” in conjunction with AMagazine@ and will only
  use ARunway.@ During the 18-month period within the United States, RBI may as necessary
  and/or required to protect, secure and/or make use RBI=s Marks in commerce continue RBI=s use
  of RBI trademark registration of ARunway Magazine@ for contractual purposes. If required to
  continue use of the Mark ARunway Magazine@ in commerce to protect, secure and/or make use
  RBI=s Marks in the United States, RBI will when used in commerce only place any and all
  reference to the Mark ARunway Magazine@ on the binder of any such publication and/or inside
  any such publication within the cover credits. Additionally, see further terms and conditions
  agreed to by the Parties, directly, in Paragraphs AC1" and AC2" of Addendum AA@ to this
  Agreement.

                  c.      Effective immediately, in all print, advertisements, and Internet, RMI
  agrees to use "Runway" in conjunction with "Magazine;" with "Magazine" to immediately follow
  "Runway" with nothing between the words. RMI agrees that in all uses of "Runway Magazine",
  the font of the term "Runway" and "Magazine" must be identical. RMI further agrees that in all
  uses of "Runway Magazine" that the font size of term "Magazine" must be no less the 1/4 of the
  font size of the term "Runway." This in no way affects the right of RMI to use “Runway” with
  other words as exampled by but not limited to such trade-names (and/or Trademarks) as
  “Runway Magazine TV,” “Got Runway,” “Runway Today.” “Runway Report” and “Runway
  Fashion TV.” And, RMI may use the abbreviation of Magazine to “Mag” but not in a logo
  format.. Similarly, this in no way effect the right of RBI to use "Runway" with other words as
  exampled by but not limited to its trademarks and other names such as "Runway News" and
  "Runway Beauty." If the Parties intend to use the term “Runway” in connection with an
  additional term not stated within this Agreement and not in a manner described in this
  Agreement, the Parties must provide written notice fourteen (14) days prior to such use. Written
  notice must be in the form of E-mail (to ceo@runwaybeauty.com) and fax to RBI, and/or by E-
  mail (to runwayjames@gmail.com) and fax to RMI. The Party giving notice must confirm
  receipt by telephone and written memorial of that confirmation by same method using E-mail and
  fax as stated above.

                   d.     Effective immediately, in all print, advertisements, and Internet, RMI shall
  agree to discontinue any and all uses of "Runway TV". RMI agrees not to challenge the validity
  of RBI's U.S. Trademark Reg. 3,872,255 for "Runway TV." In turn, RBI agrees to allow RMI to
  use the exact phrases "Runway Magazine TV" and “Runway Fashion TV.” RMI further agrees
  that in all uses of "Runway Magazine TV" and “Runway Fashion TV,” that the font size of any
  term following “Runway” must be no less the 1/4 of the font size of the term "Runway." The
  Parties agree to not to use their respective agreed upon trade-names of “Runway” for and by RBI
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  and “Runway Magazine” for and by RMI with the use of any nominal letter, symbol and/or
  numbers in their respective trade-names “Runway” (such as “Runway the Magazine”) and
  “Runway Magazine” (such as “RunwayfTV”) not agreed to herein that results in confusion. If a
  Party believes any such confusion has occurred than written notice must be given consistent with
  the method of notice stated in Paragraph “1-c.” above.

                  e.      Under this settlement RMI will submit applications to the U.S. Patent &
  Trademark Office (AUSPTO@) for use of the Marks "Runway Magazine" and/or "Runway
  Magazine, Inc." RBI hereby consents to these applications and RMI=s use of the RMI Marks;
  and, RBI will provide the USPTO with written consent to RMI=S use of and obtaining
  registration of these Marks with the USPTO. RBI will provide RMI or its successors or assigns
  and the USPTO with whatever assistance and/or documents which are necessary for RMI to
  obtain registration of these RMI Marks.

                 f.      RBI has filed various trademark applications with the USPTO, including
  but not limited to U.S. Serial No. 85317615 (the "'615 Application") for "Runway". The '615
  Application has received a suspension in view of U.S. Serial No. 77-612008, owned or
  controlled by RMI or its successors or assigns. RMI agrees to provide RBI a written consent
  and to fully cooperate with RBI's use of and obtaining registration of the '615 Application
  and any other future application filed by RBI or its successors or assigns for the mark
  "Runway." RMI will provide RBI and the USPTO with whatever assistance and/or documents
  that are necessary for RBI to obtain registration of these Runway Marks.

                  g.      It is the intent of the Parties to include in this settlement these Marks= use
  in or as a trademark, logo, trade name, or corporate name or portion thereof in any way and in
  any channel of distribution, in the United States and throughout the world. Notwithstanding the
  foregoing 18-month period within the United States, , RBI may as necessary and/or required to
  protect, secure and/or make use RBI=s Marks in commerce continue RBI=s use of the Mark
  ARunway Magazine@ outside of the United States for contractual purposes. If required to
  continue use of the Mark ARunway Magazine@ in commerce outside of the United States to
  protect, secure and/or make use RBI=s Marks, RBI will when used in commerce only place any
  and all reference to the Mark ARunway Magazine@ on the binder of any such publication and/or
  inside any such publication within the cover credits.

                  h.     Should either Party every obtain the rights to and/or use of the domain
  name www.runwaymagazine.com; the Parties agree to use their mutual use of said domain name
  solely for the purpose of redirecting traffic to their other websites.
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                  i.      If there are any domain names that these Parties agree to transfer between
  them as set forth in the attached AAddendum A@ as of the Effective Date of this Agreement or
  thereafter, the assignor will execute any required ADomain Name Assignment@ required for
  assignment of the domain name to the assignee. Each Party further agrees to change any and all
  administrative records for any assigned domain names and to list the individuals and/or entities
  designated by the other Party as the AAdministrative Contact.@ Each Party further agrees to
  perform all actions necessary to maintain ownership of any existing registrations of domain
  names to be assigned and to retain all legal rights necessary to fulfill the obligations set forth in
  this paragraph.

                  j.     As of the Effective Date of this Agreement, both Parties agree to not
  obstruct and/or prevent the distribution of the products of the other Party, including but not
  limited to any relations existing or to be established with any and all distributors, resellers,
  marketers and business builders (herein collectively referred to as "Distributors").

                 k.       To the extent required under this Agreement both Parties are contractually
  required under this Agreement to cooperate with Distributors and when required to inform
  Distributors that they have no objections to the promotion and sale of the other Party=s
  publication(s) by Distributors.

                 l.      To the extent necessary and/or required by the contractual obligations the
  Parties have with any Distributors, each Party shall inform its Distributors that it has entered into
  a settlement agreement with the other regarding the use of the Marks addressed herein; and, that
  the Party has acknowledged the validity of the other Party=s Marks, and will provide Distributors
  with any written release required by Distributors arising out of future use of these Marks. This
  Agreement is confidential and neither Party is to release a copy of the Agreement to any third
  party without the prior written consent of the other Party and/or unless the Party has obtained a
  Court order authorizing the release of this Agreement and/or the Party is required to provide a
  copy of this Agreement by law.

                  m.     The Parties will not sell or otherwise transfer any ownership or other rights
  in the RMI Marks, including any rights in domain names containing the RMI Marks expect as
  specifically authorized under this Agreement; and/or, with the written mutual consent of both
  Parties. Reasonable consent may not be withheld.

               n.     Attached as part of AAddendum A@ is a copy of the proposed use of the
  Mark by RMI and a copy of RMI=s proposed magazine in its entirety. Also included in
  AAddendum A@ are the Parties comments and agreements between themselves as to the use by the
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  Parties and the proposed magazine by RMI.

          2.      The Parties further agrees to perform all actions necessary to maintain ownership
  of the existing registrations for the Marks and/or related domain names and to retain all legal
  rights necessary to fulfill the obligations set forth in this Agreement.

          3.      The Parties further agree to immediately dismiss with prejudice all claims,
  counterclaims, or other legal proceedings in whatever form or forum that either Party has brought
  for cancellation of any U.S. or foreign trademark registration issued to either Party containing the
  terms ARunway Magazine.@ Upon execution of this Agreement the Parties agree to immediately
  direct their respective counsel to dismiss with prejudice and without costs to either Party all
  actions each has filed and claims each has asserted against the other in accordance with local law
  and procedure. This Agreement represents a full, final and complete settlement of all the
  existing disputes between these Parties. The Parties agree to cooperate with each other in
  promptly completing all acts and executing all documentation necessary to effect such
  withdrawals and dismissals immediately following the Effective Date of this Agreement.

        4. Acknowledgment of Validity of the Parties' respective Marks as described herein: The
  Parties and successors in interest hereby recognize and acknowledge RMI=s ownership rights in
  and to the trademark ARunway Magazine@ worldwide, inside the United States and outside the
  United States as specifically stated herein; and, all of the goodwill associated therewith. The
  Parties and successors in interest hereby recognize and acknowledge RBI=s ownership rights in
  and to the trademark ARunway@ worldwide, inside the United States and outside the United States
  as specifically stated herein; and, all of the goodwill associated therewith. Further, the Parties
  acknowledge and agree that the ARunway Magazine@ trademark at issue in the California Action
  arising from RBI=s application and the United States Trademark Registration No. 3586631
  granted March 10, 2009, and all other foreign and domestic registrations and/or applications
  comprising or incorporating the use of ARunway Magazine@ in commerce are famous, valid,
  enforceable, subsisting and owned by RBI and RMI as expressly stated herein. The Parties agree
  to publicly acknowledge the validity of their ARunway Magazine@ Trademarks as necessary for
  each individual occasion and/or event under this Agreement that arise, and, only as necessary in a
  joint mutual statement as hereinafter provided for in AAddendum A.@

               a.       Each Party and their successors in interest hereby recognize and
  acknowledge the ownership rights in and to the trademarks addressed in this Agreement
  worldwide and all of the goodwill associated therewith.
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                 b.      Each Party and their successors in interest and present and future
  subsidiaries agree not to hereafter challenge or contest, directly or indirectly, the validity,
  ownership or registration of any trademark under this Agreement including in any proceeding of
  any type in any country.

          5.      No Payment(s): Under this Agreement the Parties agree and acknowledge that no
  sums of money are owed and/or due to the other Party under this Agreement. And, each Party
  agrees and acknowledges that they are each solely responsible for all their legal fees and any and
  all costs and expenses incurred.

          6.      License: The Parties agree that if necessary to execute any licensing agreement(s)
  consistent with this Agreement that the other Party may require to effectuate this Agreement and
  that Party=s rights and/or interests under this Agreement, and/or required to enter into any
  contractual relationship with any third party to make use of that Party=s rights and/or interests
  under this Agreement. No Party shall seek any such licensing agreement that will adversely
  impact the other Party=s rights and/or interests under this Agreement, nor, shall a Party be
  required to sign any such licensing agreement that would damage that Party=s rights and/or
  interests under this Agreement. No Party is required to execute any licensing agreement that may
  expose that Party to liability, but, may not unreasonably refuse to execute any licensing
  agreement due to exposure to liability if the other Party agrees in writing to fully indemnify the
  other Party and provides written proof of their ability to so indemnify.

          7.      Covenant Regarding Past Damages: The Parties further hereby irrevocably and
  perpetually covenants not to sue the other, its successors in interest, its past, present and future
  assigns, officers, directors, subsidiaries, affiliates, insurers and underwriters, or otherwise seek
  recovery from such parties, for "Past Damages." "Past Damages" means any and all damages that
  have accrued on account of any and all trademark infringement that has occurred before the
  Effective Date. In no event shall this covenant apply to any future violations of these Parties
  rights and/or interests under this Agreement.

           8.      Releases: The Parties specifically release, waive, and forever discharge each other,
   their successors in interest, their past, present and future assigns, officers, directors, subsidiaries,
  affiliates, insurers and underwriters, from any and all past claims, demands, actions, liabilities
  and causes of actions, of every kind and character, whether asserted or unasserted, whether
  known or unknown, suspected or unsuspected, in law or in equity, for or by reason of any matter,
  cause or thing whatsoever, arising out of the claims asserted by the Parties in the California
  Action and/or from any past claims arising out of distribution of the publications using the
  ARunway Magazine@ trade-name and/or Mark prior to the Effective Date of this Agreement.
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          9.      Dismissal of California Action: Upon execution of this Agreement the Parties
  shall direct their counsel to dismiss the California Action with prejudice, including all claims of
  RBI and all counterclaims of RMI and James Buccelli, each Party to bear its own costs, and with
  the form of agreed order attached hereto as Exhibit AA.@

          10.     Confidentiality: The Parties agree to not provide any copy of this Agreement to
  any third party without the prior written consent of the other Party. This Agreement is
  confidential and neither Party is to release a copy of the Agreement to any third party without the
  prior written consent of the other Party and/or unless the Party has obtained a Court order
  authorizing the release of this Agreement and/or the Party is required to provide a copy of this
  Agreement by law.

          11.   The parties agree to a Ajoint mutual statement @ in the form attached
  hereto in AAddendum A.@

                   a.     Except for the joint press release provided in AAddendum A,@ and
  except for the release of this Agreement as agreed to by the Parties and/or as required by law, the
  Parties agree to keep confidential and not disclose to any third party the terms and conditions of
  this Agreement. The Parties may disclose the existence of this Agreement and the rights to use of
  the Marks involved and as stated herein. The Parties will not disclose any of the negotiations and
  discussions that preceded this Agreement=s making, except as follows in which cases the Parties
  will nevertheless use their best efforts to seek confidential treatment by any receiving party: (i) as
  is necessary to defend against any legal action; (ii) as is necessary to effectuate any term or
  provision of the settlement, including any subsequent litigation to enforce the settlement,
  except that both Parties shall take all reasonable steps to maintain the confidentiality of this
  information including filing documents under seal and entry of appropriate protective orders; (iii)
  to either Party's insurers, as necessary to pursue insurance claims; (iv) to a Party's accountants or
  lawyers; (v) as is reasonably necessary to comply with the Securities and Exchange
  Commission's disclosure requirements; (vi) as and to the extent deemed necessary
  by either Party in the course of their normal enforcement efforts with respect to their rights
  and/or interest in these Marks (whenever possible in such instances prior written consent of the
  other Party will be obtained, but, excused by emergent circumstances); and (vii) as required by
  law or court order upon notice to the other Party sufficiently in advance of such disclosure to
  permit it to seek a protective order. Nothing in this Section 11 shall be construed to preclude or
  prohibit the Parties from being able to publicly acknowledge that they have entered into a
  settlement of the California Action and related disputes.
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                 b.      The Parties acknowledges that the confidentiality obligations set forth
  herein are material considerations for each Party=s agreement to enter into this settlement; and ,
  that without each would not have entered into this settlement without such confidentiality
  obligations, and that any breach of the confidentiality obligations would be a material breach of
  this Agreement.

         12.    No Admission of Liability: Each Party acknowledges and agrees that this
  Agreement is a compromise of disputed claims and neither this Agreement, nor any consideration
  provided pursuant to this Agreement, shall be taken or construed to be an admission or
  concession by either RBI or RMI of any kind with respect to any fact, liability, or fault.

          13.    Waiver of Rights under California Civil Code '1542: It is understood and agreed
  that this Agreement is intended to cover and does cover all claims or possible claims of every
  nature and kind whatsoever, whether known or unknown, suspected or unsuspected, or hereafter
  discovered or ascertained, and all right under Section 1542 of the Civil Code of California
  ("Section 1542") are hereby expressly waived. The Parties acknowledge that they are familiar
  with Section 1542, which reads as follows:

         A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
         CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT THE
         TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM MUST HAVE
         MATERIALLY AFFECTED HIS SETTLEMENT WITH THE DEBTOR.

                  a.      The Parties expressly, knowingly, and intentionally waive and relinquish
  any and all rights that they have under Section 1542, as well as under any other similar state or
  federal statute or common law principle.

          14.     Entire Agreement: this Agreement constitutes the entire agreement between the
  Parties with respect to the subject matter hereof and there are no inducements, representations,
  warranties, or understandings that do not appear within the terms and provisions of this
  Agreement. This Agreement may be modified only by a writing signed by both Parties.

           15.    Defamation, Material Breach of Agreement & Attorneys' Fees: In the event of
  litigation between the Parties arising out of or related to the performance or non-performance of
  any obligation of any Party to this Agreement, the prevailing Party shall be entitled to recover its
  attorneys' fees and costs incurred.
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                 a.      Defamation: Each Party takes immediate initiative to take down all
  negative information and do not slander or imply negative information via; internet, in person or
  any other media and digital media means. If either Party fails to remove such content under their
  control and/or posts any such content in the future; the Party in such breach of this Agreement is
  responsible for the other Party's costs, expenses and/or legal fees as damages incurred to address
  the offending material and to have it removed and/or responded to.

          16.     Authorization: Each individual signing this Agreement warrants and represents
  that he has the full authority and is duly authorized and empowered to execute this Agreement on
  behalf of the Party for which he signs.

         17.     Choice of Law: The provisions of this Agreement shall be governed by the
  laws of the State of California, including any action arising out of this Agreement.

           18.    Severability and Construction: If any provision of this Agreement shall be held by
  a court of competent jurisdiction to be illegal, invalid or unenforceable, the remaining provisions
  shall remain in full force and effect. This Agreement has been negotiated by the Parties and their
  respective counsel and shall be interpreted fairly in accordance with its terms and without any
  strict construction in favor of or against either Party.

          19.     Counterparts: This Agreement will be executed by the Parties on the Effective
  Date and may be executed in one or more counterparts, each of which when so executed and
  delivered shall be deemed to be an original, but all of which taken together form but one and the
  same instrument.

          20.     The Parties agree that, should any controversy, claims or the breach shall arise, the
  Parties shall immediately make good faith efforts to negotiate its own written voluntary
  resolution of the matter directly between ourselves. The Parties agree that, if the matter still
  remains unsettled for twenty-five days after certified mail notification that a dispute exists, we
  shall immediately jointly retain a mutually-agreed neutral mediator, and conduct and participate
  in confidential mediation, to continue attempting to work out our own written voluntary
  settlement.

          The Parties further agree that if, and only if, the dispute still remains unsettled for an
  additional twenty-five days, then the Parties shall submit the dispute to binding neutral
  arbitration. In this event, the Parties agree that any controversy, claim, or the breach thereof, shall
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be settled by binding arbitration in accordance with the applicable rules of the American
Arbitration Association then in effect as modified below.

        The Parties stipulate and agree that no mediator shall submit, and no arbitrator, court, or
other adjudicative body shall consider, any mediator evaluations, recommendations, declarations,
or findings, unless all mediation participants specifically later agree in writing. The Parties agree
that judgment upon the award rendered by the arbitrator(s) may be entered in any court having
jurisdiction thereof. The Parties further agree that in any action, or arbitration claim, brought to
interpret or enforce this Agreement, the prevailing party shall be entitled to reasonable attorneys'
fees and procedural costs.
                               LIQUIDATED DAMAGE CLAUSE FOLLOWS.

        21.     Liquidated Damages: The Parties to this Agreement allege, assert, acknowledge
and agree that determining damages is difficult, expensive and time consuming for any material
and substantive breach of this Agreement and/or if either Party acts to cause injury to the other
Party by placing items and/or information into any media (even if truthful), and therefore, the
Parties agree to set the following liquidated damages to be awarded to the prevailing party in any
legal action for any material and substantive breach and/or wrongful conduct described herein.
Those liquidated damages are $500,000.00 (five hundred thousand dollars) for any such material
and substantive breach and/or wrongful conduct and may be award as provided in Paragraph 20.
 Additionally, the Parties must provided written notice as provided in Paragraph l(c) and the
Party charged with material breach of this Agreement will have thirty (30) days to cure.

Initialed:

Vincent Mazzotta, individually & for RBI           James Buccelli, individually & for RMl



                               [THE SIGNATURE PAGE FOLLOWS.]
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       21.     Binding Effect: This Agreement shall be binding on the Parties, their
successors in interest, and present and future subsidiaries, assignees or acquirers, including any
acquirer of substantially all of the assets of a Party.

               lN WITNESS HEREOF, RBI and RMI have caused their duly authorized
representatives to execute this Agreement to be effective as of the Effective Date.

By legal counsel as to form a~d content:

For Plaintiff and Counterdefendants:

DATED:         October~ 2011                  By:
                                                 - - Michael
                                                      - -- Cohen,
                                                             - - -Esq.
                                                                   - - -- --

For Defendants and Counterclaimant:


DATED:         October ~       2011


By the Parties:

DATED:         October_, 2011                 By:_ __ _ __ __ _ __ _ __
                                                    Vincent Mazzotta, individually and on
                                                    behalf of Runway Beauty, Inc,; the Plaintiff
                                                   and Counterdefendants

DATED:         October   U     2011           By:        ~s
                                                    - - James
                                                         - - -Buccelli,
                                                                - - -individually
                                                                        -- - - -
                                                                                    j ~
                                                                                    -- -
                                                                                  and on behalf
                                                       of Runway Magazine, Inc. the Defendants
                                                       and Counterclaimant
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                                        ADDENDUM AA@
                    (Attached is Copy of Proposed Magazine & Cover by RMI)

  A.     Social Media & Domain Names

  1.     RBI to transfer domains ARunwayMagazine.TV@ to RMI. RMI will not pursue
         “www.runwayfashionmagazine.com’ and RBI agrees to not use that domain in and/or for
         any promotional manner and only use as a forwarding url. RMI to pay for any and all
         costs associated with said transfers to RMI and RBi to pay for any and all costs associated
         with said tranfers to RBI.

         a.      RBI agrees to transfer the following “Runway Magazine” domains to RMI,
  including but not limited to:

                www.RunwayMagazine.biz(external link)
                www.RunwayMagazine.info(external link)
                www.RunwayMagazine.de(external link)
                www.RunwayMagazine.es(external link)
                www.RunwayMagazine.fr(external link)
                www.RunwayMagazine.it(external link
                www.RunwayMagazine.mobi(external link)
                www.RunwayMagazine.tv(external link)
                www.RunwayMagazine.us
                www.RunwayMagazin.com

                RMI to pay for any and all costs associated with said transfer.

         b.     RMI agrees to transfer the following domains to RBI:

                www.irunwaytv.com
                www.runwaytv.co

                RBI to pay for any and all costs associated with said transfer.

  2.     Catch-All Provision: With the exception of www.runwaybeautymagazine.com any other
         domains that include the consecutive terms “Runway Magazine” domains owned by RBI
         to be transferred to RMI, after RBI is finished with whatever legal matters involving
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                                                  Exhibit “E”
7/22/2018Case                        Search
                  2:18-cv-02503-FMO-JC      for Case Number
                                         Document       36 by Filed
                                                              Defendant Name - Online
                                                                    07/30/18          Services
                                                                                    Page    22- LA
                                                                                                of Court
                                                                                                   90 Page ID #:745
                                                                                                                 Español | Tiếng Việt | 한국어 | 中文 | հայերեն



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 Home        Online Services                Forms, Filings & Files           Self-Help                  Divisions                    Jury                       General Info
             Pay Fines, Search Records...   Forms, Filing Fees...            Self-Rep, Info, FAQs...    Civil, Criminal, Family...   Jury Duty Portal, Q&A...   Courthouses, ADA ...




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        ONLINE SERVICES


        Search for Case Number by Defendant Name
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            Disclaimer                                                                                                                                                Show




          The following list might contain records of diﬀerent people of the same name, and it may not contain records of the person for
          whom you are searching.


                   IMPORTANT


                   Eﬀective Monday, November 23, 2015, this site will return only the case number, defendant name, ﬁling date and
                   ﬁling location of cases that match the party name you submitted. To view additional information about a case, please
                   visit our Criminal Case Summary site.




          Result of query on Sunday, July 22, 2018                  4:44:32 PM

          Last Name: Buccelli (Exact Match)
          First Name: James (Exact Match)
                                                                                                                                                                New Search




                                                              Def.        Case
            #         Name                                                                        Filing Date          Filing Location
                                                              ID          Number

            1         BUCCELLI, JAMES                         01          3PY08326                11/19/2013           Van Nuys Courthouse West (LAV)

            2         BUCCELLI, JAMES                         01          5PY03041                06/11/2015           Van Nuys Courthouse West (LAV)

            3         BUCCELLI, JAMES                         01          8VY02171                05/07/2008           Van Nuys Courthouse West (LAV)

                      BUCCELLI, JAMES
            4                                                 01          LA081519                11/23/2015           Northwest District (XNW)
                      ANTHONY

                      BUCCELLI, JAMES
            5                                                 01          4WA32632                11/06/2014           Airport Courthouse (LAX)
                      ANTHONY

                      BUCCELLI, JAMES
            6                                                 01          SA056848                09/19/2005           West District (XWE)
                      ANTHONY

                      BUCCELLI, JAMES
            7                                                 01          LA062917                08/28/2009           Van Nuys Courthouse West (LAV)
                      ANTHONY


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7/22/2018Case                                Search
                          2:18-cv-02503-FMO-JC      for Case Number
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                                                                                                        of Court
                                                                                                           90 Page ID #:746
                 8           BUCCELLI, JAMES                           01              LA081519                08/06/2015   Van Nuys Courthouse West (LAV)
                             ANTHONY

                             BUCCELLI, JAMES
                 9                                                     01              4SM03467                07/21/2004   Airport Courthouse (LAX)
                             ANTHONY

                             BUCCELLI, JAMES
                 10                                                    01              SA056848                06/22/2005   Beverly Hills Courthouse (BH)
                             ANTHONY

                             BUCCELLI, JAMES                                                                                Clara Shortridge Foltz Criminal Justice Center
                 11                                                    02              BA284046                05/25/2005
                             ANTHONY                                                                                        (LAC)

                             BUCCELLI, JAMES
                 12                                                    01              7PR02618                05/18/2017   Unknown (REV)
                             ANTHONY

                             BUCCELLI, JAMES
                 13                                                    02              SA055089                03/09/2005   West District (XWE)
                             ANTHONY

                             BUCCELLI, JAMES
                 14                                                    02              SA055089                01/19/2005   Beverly Hills Courthouse (BH)
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                             BUCCELLI, JAMES
                 15                                                    01              8PR00234                01/11/2018   Unknown (REV)
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                             BUCCELLI, JAMES
                 16                                                    01              8VW01163                01/11/2018   Van Nuys Courthouse West (LAV)
                             ANTHONY




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                                        Los Angeles Courthouse Jury Rooms




                                             "New York" by Samantha Wei
                                               2008 Honorable Mention




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         those domains; and should be accomplished within 18-months of the Effective Date.
         Additionally, RMI shall transfer any domains to RBI that may cause substantial confusion
         between the parties.; and the same for any domains owed by RMI to be transferred to
         RBI. RMI to pay for any and all costs associated with said transfers to RMI and RBi to
         pay for any and all costs associated with said transfers to RBI.

  3.     RBI agrees to immediately release all claims to and/or holds and/or blocks placed on
         domains and websites at Go Daddy or any other social media sites in which domain
         names and/or address owned by RMI were suspended or taken down, specifically
         including but not limited to, RunwayMagazineLa.com, RunwayMagazineInc.com,
         RunwayMagazineTV.com. Both RBI and RMI have looked through each other’s
         domains and have decided that with respect to the domains and names listed herein, both
         RMI and RBI do not have any issue; and, specifically concerning the future use of other
         domains and names the Parties approve RMI's use of "Runway Enterprises" and/or RBI's
         use of "Runway Media Group."

  4.     “Facebook:” The Parties agree to reasonably use their resources to the best of their
         abilities to transfer RBI’s “Runway Magazine” Facebook fan page to RMI and RBI to
         develop and use a “Runway” fan page. If for any reason the Parties are unsuccessful in
         having the “Runway Magazine” facebook fan page transferred to RMI as stated herein,
         RBI agrees to transfer the “Runway Magazine” facebook fan page to RMI after 18
         months. Or if 25,000 total fans / likes / followers, are achieved on RBI's new fan page,
         RBI will transfer the old fan page to RMI. However, at no time shall RBI have any
         obligation to transfer the fans/likes/followers of RBI's old fan page. If the transfer to RMI
         cannot be made without the fans/likes/followers attached that will not prevent the
         transfer.

  5,     “Twitter:” The Parties agree to reasonably use their resources to the best of their abilities
         to transfer RBI’s “Runway Magazine” Twitter Account to just “RUNWAY;” and transfer
         the “Runway Magazine” Twitter to RMI. If for any reason the Parties are unsuccessful in
         having the “Runway Magazine” Twitter Account transferred to RMI as stated herein, RBI
         agrees to transfer the “Runway Magazine” Twitter Account to RMI after 18 months. Or
         if 7,000 total fans / likes / followers, are achieved on RBI's new Twitter page, RBI will
         transfer the old Twitter page to RMI. However, at no time shall RBI transfer the
         fans/likes/followers of RBI's old Twitter page. If the transfer to RMI cannot be made
         without the fans/likes/followers attached that will not prevent the transfer.
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  6.     Other Social Media:

         a.     RBI agrees to kill “Runway Magazine” Behance completely and start over with
  just “Runway.”

          b.      With respect to the Parties agreement for Facebook and Twitter: The Parties agree
  to similarly transfer any social media outlets that have the url / title “Runway Magazine,”
  “Runway Mag” or “RunwayMagazine” in it that RBI is currently affiliated with and/or owner of,
  including but not limited to;

                 i.) MYSPACE; ii.)YOUTUBE; iii.) STUMBLEUPON

         c.      RBI agrees to delete all old job postings under “Runway Magazine.”

         d.    RBI agrees to change all business listings, yp, google, yahoo, msn, bing, local,
  etc…. from “Runway Magazine” to “RUNWAY.”

  7.     RBI agrees to change their “Runway Magazine” APP to just “Runway.”

  8.     The Parties agrees to do a walk through together with RMI of RBI websites and remove
         any and all things that state “Runway Magazine.”

  9.     RBI agrees to RMI using “Runway Magazine” and RBI using “RUNWAY” immediately.

  B.     Joint Mutual Statement

         [See attached AJoint Mutual Statement @ dated October 22, 2011.]

  C.     The Parties Agreed Upon Terms & Conditions, And, Regarding RMI=s Proposed
         Magazine (Attached to This Agreement) and Use of The Mark ARunway Magazine.

  1.     Except as provided herein, after the 18-month transition period agreed to herein RBI is
         not to use ARunway@ and the word AMagazine@ together within the United States,
         including but not limited to use in any publication, any domain or for any type of
         advertising and promotions;
  2.     RBI will if possible, even during the 18-month transition period for use inside the United
         States, attempt to use ARunway [Media Group Magazine]@ or ARunway [A Magazine]@,
         except on use on the binder or inside RBI=s magazine in the cover credits in order to not
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            adversely jeopardize RBr's U.S. or foreign trademark rights and registrations;
     3.     Use of "Runway Beauty" in RMI magazine, please change to Runway Magazine Beauty;
     4.     RMI will cease using "Runway TV" and may continue using "Runway Fashion TV" or
            "Runway Magazine TV";
     5.     The Parties, both RBI and RMI are in agreement with shared use of the Mark "Runway
            Magazine as set forth in the settlement agreement through owning separate USPTO
            registration numbers; and, except as described herein, so long as RBI's use of the Mark
            "Runway Magazine" ends after the agreed upon 18-month period;
     6.     The Parties have not and will not act to empower, assign and/or transfer to any third party
            the use of "Runway Magazine" for any promotional, social media, advertising, print,
            web/TV, or anything that asks for a profile name;
     7.     Except as described herein, RBI will immediately start weeding out their use of name
            "Runway" and "Magazine" on existing social media. Also let his marketing and PR know
            not to use "Runway Magazine" but rather move forward using just "Runway;"
     8.     Except as described herein, moving forward for this point in time, all Branding for RBI
            regarding their publication and TV in any facet is to be "RUNWAY;"
     9.     Reveal of any pending legal matters and status that could effective the settlement between
            the Parties;
     10.    Letter and/or written consent sent to USPTO releasing any opposition ofRMI's existing
            trademark applications for "Runway Report," "Runway Magazine LA," "Got
            Runway;" .similarly, releasing any opposition of RBl's existing trademark applications for
            "Runway;"
     11.      RMI to use "Runway Report" when reporting on the news and RBI to use "Runway
            News" when reporting on the news;
     12.    Starting from the effective date of this Agreement, in regards to any future data uploaded
            on any website or anywhere on the Internet, RBI will immediately cease and take steps to
            correct all keyword, meta-data and/or meta-tag stuffing of the combined terms "Runway
            Magazine" in all affiliated sites of RBI under its control. RBI shall not have an
            affinnative duty to remove past data, except, both RBI and RMI will have an affirmative
            duty to correct all keyword, meta-data and/or meta-tag stuffing of terms associated with
            each Parties primary web-site.
     13.    Event of Default : If either parties corporate entity is dissolved, closed or shut down the
            surviving party shall be entitled to all the property listed in this agreement.
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  14.    To the extent the Parties cannot accomplish any of the requirements of Addendum A as a
         result or consequence of policies or regulations of third parties which are beyond the
         control of the either of the Parties, the respective Party's inability shall not constitute a
         breach of this Agreement.


  Bv the Parties:
                               .... e::~
 DATED:         October~(_, 20 J 1                    By          ,-/'//~                       -

                                                           ~ t t a , individually and on
                                                            behalf of Runway Beauty, lnc,; the Plaintiff

                          ,- --;
                                                           and Counterdcfondants
                                                                   ~       ·-·- -~
                                                                                                       11
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                                                                                                             I ,1    ~
 DATED:         October   Z.. · -              2011
                          ·-               '          By: -- -- --        =::::::::
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                                                                                 -                     =---t.::((/
                                                             James Buccelli, individually and on behalf
                                                             of Runway Magazine, Inc. the Def:endants
                                                             and Counterclaimant
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                                                  Exhibit “F”
7/21/2018Case                    Business Search
                 2:18-cv-02503-FMO-JC            - Business 36
                                           Document         Entities - Business
                                                                   Filed        Programs | Page
                                                                           07/30/18        California
                                                                                                    29Secretary
                                                                                                        of 90of State
                                                                                                                Page ID #:752

Alex Padilla
California Secretary of State


              Business Search - Entity Detail

     The California Business Search is updated daily and reflects work processed through Friday, July 20, 2018. Please refer to
     document Processing Times for the received dates of filings currently being processed. The data provided is not a complete or
     certified record of an entity. Not all images are available online.

     C3016054             RUNWAY MAGAZINE INC.
     Registration Date:                                                   06/11/2007
     Jurisdiction:                                                        CALIFORNIA
     Entity Type:                                                         DOMESTIC STOCK
     Status:                                                              FTB SUSPENDED
     Agent for Service of Process:                                        JAMES ANTHONY BUCCELLI
                                                                          8560 SUNSET BLVD, 5TH FLOOR
                                                                          WEST HOLLYWOOD CA 91604
     Entity Address:                                                      8560 SUNSET BLVD, 5TH FLOOR
                                                                          WEST HOLLYWOOD CA 90069
     Entity Mailing Address:                                              8560 SUNSET BLVD, 5TH FLOOR
                                                                          WEST HOLLYWOOD CA 90069




       Document Type                                                File Date                                PDF

       SI-COMPLETE                                                   03/18/2014


       SI-COMPLETE                                                   03/11/2011


       REGISTRATION                                                  06/11/2007



     * Indicates the information is not contained in the California Secretary of State's database.

             If the status of the corporation is "Surrender," the agent for service of process is automatically revoked. Please refer to
             California Corporations Code section 2114 for information relating to service upon corporations that have surrendered.
             For information on checking or reserving a name, refer to Name Availability.
             If the image is not available online, for information on ordering a copy refer to Information Requests.
             For information on ordering certificates, status reports, certified copies of documents and copies of documents not
             currently available in the Business Search or to request a more extensive search for records, refer to Information
             Requests.
             For help with searching an entity name, refer to Search Tips.
             For descriptions of the various fields and status types, refer to Frequently Asked Questions.

        Modify Search               New Search           Back to Search Results




https://businesssearch.sos.ca.gov/CBS/Detail                                                                                               1/1
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                                                 Exhibit “G”
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  ARIZONA CORPORATION MINUTES RUNWAY BEAUTY INC

  BOARD MEETING: 2-27-2015

  Took Place at: Corporate HQ Arizona


  Points:
  *Let the record show that Mr. Jay Falz has committed suicide violating his contract to provide
  funding and work as CFO until Runway Beauty Inc is profitable therefore all shares of Runway
  Beauty Inc will revert back to its original ownership.

  *New Ownership is 10,000 A Class of 10,000 A Class Shares to Vincent Anthony Mazzotta

  *All Debt to be paid by Vincent Mazzotta in order to keep from losing the companies
  Intellectual property. Estimated Debt left by CFO Jay Falz: $40,000

  *Runway Beauty Inc to be converted to a holding company for Intellectual property and
  Runway TV LLC is to be formed to run day to day operations and prepare the company to go
  public using the laws of Delaware.
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                                                 Exhibit “H”
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  From: Eleonora de Gray [mailto:pomconfi2@gmail.com]
  Sent: Tuesday, March 18, 2014 12:25 PM
  To: michael@patentlawip.com; Runway Media <ceo@runway.net>
  Subject: Eleonora de Gray - James Buccelli problem

  Dear Michael,
  Vincent suggested me to get in touch with your directly for the piece of my mind and 2 our
  teams in France and Peru who became the victims of Buccelli scam. we are all as you can
  understand today under attack

  We are going to fix all the paper work needed this week with FBI and will send it to you. - so
  you can add to all files. if needed I can send to you fake license contract what I received from
  Buccelli in February 2012 ... when he didn't have any trademark even for temporary use. . I see
  he has change of ownership and registration of trademark valid ONLY for USA in December
  2012.

  I strongly believe that international trademarks RUNWAY / RUNWAY MAGAZINE belong to
  Vincent. and I strongly believe that we should do everything possible to get USA trademark also
  back to Vincent. Otherwise scam and fraud will never stop. There are two trademarks and they
  have to be in one corporation.
  to protect my company production and get rid of all kind of fraudulent use of my production of
  James Buccelli I registered in France trademarks Runway France / Runway Magazine France .
  and I suggested to do the same to company who produced Runway Peru.
  I proposed Vincent and Jay corporation business model with community trademark (this business
  model often used in oil business where all small companies in corporation have their shares and
  sub-trademarks in their countries). I'm writing common e-mail to you , my lawyer , my business
  adviser, Vincent and Jay about this subject to see how we can go trough in the best business
  interest for all of us.

  Dear Michael ,
  I'd very much appreciate if you'll give me piece of mind about International Runway Magazine
  trademark: 1058209
  as I can see on http://www.wipo.int/romarin
  it's still belong to Vincent BUT I also see that James Buccelli filed "change of ownership" 25
  February 2014
  if there any possibilities to stop James from obtaining it based on the documents that Vincent
  signed after court.
  and I think it's only you can file objection in proceeding for this "change of ownership" based on
  multiplied violations, fraud.
  could you please let me know and if there's something I can do to prevent it from happening

  thank you very much
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  have pleasant time
  all my best :-)
  Eleonora de Gray

  EDITOR-IN-CHIEF of
  RUNWAY MAGAZINE FRANCE
  http://www.runway.net
  http://runwayfrance.blogspot.com
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                                                   Exhibit “I”
7/21/2018Case                     RUNWAY
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                    LIFESTYLE       BEAUTY   SHOPPING   POLITICS   ROMANCE




                  10 Reason why Sex Make you live Longer
                  admin - Mar 5, 2018                                                           0




                  Oscars 2018 – RUNWAY MAGAZINE WINNERS LIST
                  admin - Mar 5, 2018                                                           0




https://www.runwaylive.com/                                                                                 1/7
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                                                   Exhibit “J”
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  Iris van                   Stephan                    Franck
  Herpen                            e                   Sorbier
 Haute                     Rolland                   Haute
 Couture                      Haute                    Couture
    Fall-                    Couture                      Fall-
   RE AD MORE                 R EA D MO RE               RE AD MORE




  Aigle x                    POURQU                         Les
  Ines de                         OI                    premier
      la                   CHANEL                          s
  Fressan                     A CRÉÉ                    lauréats
       ge                         LA                         de
   RE AD MORE                 R EA D MO RE               RE AD MORE




  Versace                      Local                     Royal
    Fall-                    Ambitio                    Weddin
 Winter                         n–                   g 2018 –
  2018-19                     Reality                    Harry
   Milan                     Show by                       and
   RE AD MORE                 R EA D MO RE               RE AD MORE




   Gucci                     Story of                   Chanel
   Fall-                     Fashion                    Cruise
 Winter                    Model –                   2018-19
  2018-19                        My                      Chanel Cruise
   Milan                     Runway
  RE AD MORE                  R EA D MO RE                 RE AD MORE
                                                         2018-19 Replica




    Shiatzy                      Mon                         The
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                                                 Exhibit “K”
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                                                  Exhibit “L”
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                                               Exhibit “M”
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                                                Exhibit “N”
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